                           Case 1:20-cv-00351-SPB Document 3 Filed 12/09/20 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                                      for the
                                                               Western District
                                                              __________        of Pennsylvania
                                                                          District of __________

    Pennsylvania General Energy Company, L.L.C.                                          )
                                                                                         )
                                                                                         )
                                                                                         )
                                 Plaintiff(s)                                            )
                                                                                         )
                                      v.                                                           Civil Action No. 1:20-cv-351
                                                                                         )
   Grant Township of Indiana County and the Grant                                        )
           Township Board of Supervisors                                                 )
                                                                                         )
                                                                                         )
                                Defendant(s)                                             )

                                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Grant Township of Indiana County
                                                Grant Township Board of Supervisors
                                                100 East Run Road
                                                Marion Center, PA 15759




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Lisa C. McManus, Esquire
                                                Pennsylvania General Energy Company, L.L.C.
                                                120 Market Street
                                                Warren, PA 16365



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                          &/(5.2)&2857
                                                                                                        CLERK  OF COURT


Date:
 12/09/2020                                                                                                  JamesSignature
                                                                                                                   Gravesof Clerk or Deputy Clerk
 'DWH6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
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 Civil Action No. 1:20-cv-351

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
